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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK
_______________________________________________
                                                 :
UNITED STATES SECURITIES AND                     :
EXCHANGE COMMISSION                              :
                                                 :
              Plaintiff,                         :
                                                 :
              vs.                                : No. 1:18-cv-8865-AJN-GWG
                                                 :
ELON MUSK,                                       :
                                                 :
              Defendant.                         :
                                                 :
________________________________________________ :

                 FINAL JUDGMENT AS TO DEFENDANT ELON MUSK

        The Securities and Exchange Commission having filed a Complaint and Defendant Elon

 Musk having entered a general appearance; consented to the Court’s jurisdiction over Defendant

 in this matter only and the subject matter of this action; consented to entry of this Final Judgment

 without admitting or denying the allegations of the Complaint (except as to jurisdiction and

 except as otherwise provided herein in paragraph III); waived findings of fact and conclusions of

 law; and waived any right to appeal from this Final Judgment:

                                                  I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

 Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

 interstate commerce, or of the mails, or of any facility of any national securities exchange, in

 connection with the purchase or sale of any security:

                (a)     to employ any device, scheme, or artifice to defraud;

                (b)     to make any untrue statement of a material fact or to omit to state a

                        material fact necessary in order to make the statements made, in the light
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                      of the circumstances under which they were made, not misleading; or

               (c)    to engage in any act, practice, or course of business which operates or

                      would operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

                                                II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a

civil penalty in the amount of $20,000,000 to the Securities and Exchange Commission pursuant

to Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. Defendant shall make this

payment within 14 days after entry of this Final Judgment.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Elon Musk as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.
       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,



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Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant.

       Defendant shall pay post judgment interest on any delinquent amounts pursuant to 28

U.S.C. § 1961. The Commission shall hold the funds, together with any interest and income

earned thereon (collectively, the “Fund”), pending further order of the Court.

       The Commission may propose a plan to distribute the Fund subject to the Court’s

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund
provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002, as amended. The Court shall

retain jurisdiction over the administration of any distribution of the Fund. If the Commission

staff determines that the Fund will not be distributed, the Commission shall send the funds paid

pursuant to this Final Judgment to the United States Treasury.

       Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant shall not argue that he is entitled to, nor shall he further benefit by offset

or reduction of any award of compensatory damages in any Related Investor Action by the

amount of any part of Defendant’s payment of a civil penalty in this action (“Penalty Offset”). If

the court in any Related Investor Action grants such a Penalty Offset, Defendant shall, within 30

days after entry of a final order granting the Penalty Offset, notify the Commission’s counsel in

this action and pay the amount of the Penalty Offset to the United States Treasury or to a Fair

Fund, as the Commission directs. Such a payment shall not be deemed an additional civil

penalty and shall not be deemed to change the amount of the civil penalty imposed in this

Judgment. For purposes of this paragraph, a “Related Investor Action” means a private damages

action brought against Defendant by or on behalf of one or more investors based on substantially
the same facts as alleged in the Complaint in this action.

                                                  III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of


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exceptions to discharge set forth in Section 523 of the Bankruptcy Code [11 U.S.C. § 523] the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code [11 U.S.C. § 523(a)(19)]. Nothing in this paragraph (a)
constitutes an admission by Defendant for any purpose other than determining the applicability

of Section 523(a)(19) or (b) affects Defendant’s (i) testimonial obligations; or (ii) right to take

any legal or factual positions in litigation or other legal proceedings in which the Commission is

not a party.

                                                 IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings set forth therein, including, but not limited to, the

undertakings to:

               (a)     resign from his role as Chairman of the Board of Directors of Tesla, Inc.

                       (“Chairman”) within forty-five (45) days of the filing of this Consent and

                       agree not to seek reelection or to accept an appointment as Chairman for a

                       period of three years thereafter. Upon request by Defendant, the

                       Commission staff may grant in its sole discretion an extension to the

                       deadline set forth above;

               (b)     comply with all mandatory procedures implemented by Tesla, Inc. (the

                       “Company”) regarding (i) the oversight of communications relating to the
                       Company made in any format, including, but not limited to, posts on

                       social media (e.g., Twitter), the Company’s website (e.g., the Company’s

                       blog), press releases, and investor calls, and (ii) the pre-approval of any


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                       such written communications that contain, or reasonably could contain,

                       information material to the Company or its shareholders; and

               (c)     certify, in writing, compliance with undertaking (a) set forth above. The

                       certification shall identify the undertaking, provide written evidence of

                       compliance in the form of a narrative, and be supported by exhibits

                       sufficient to demonstrate compliance. The Commission staff may make

                       reasonable requests for further evidence of compliance, and Defendant
                       agrees to provide such evidence. Defendant shall submit the certification

                       and supporting material to Steven Buchholz, Assistant Regional Director,

                       U.S. Securities and Exchange Commission, 44 Montgomery Street, 28th

                       Floor, San Francisco, CA 94104, with a copy to the Office of Chief

                       Counsel of the Enforcement Division, 100 F Street NE, Washington, DC

                       20549, no later than fourteen (14) days from the date of the completion of

                       the undertaking.

                                                V.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




Dated:
                                                     Hon. Alison J. Nathan
                                                     UNITED STATES DISTRICT JUDGE




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